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11   Counsel for Plaintiffs Sears, Roebuck and Co. and Kmart Corporation

12                               UNITED STATES DISTRICT COURT
13         NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
14
15    IN RE: CATHODE RAY TUBE (CRT)                         Case No. 07-5944 SC
16    ANTITRUST LITIGATION                                    MDL No. 1917
17                                                       STIPULATION AND
18                                                       [PROPOSED] ORDER
     This Document Relates to:                           REGARDING DISCOVERY TO
19                                                       OCCUR AFTER SEPTEMBER 5,
20   ALL DIRECT ACTION CASES                             2014
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                             STIPULATION AND [PROPOSED] ORDER
                    REGARDING DISCOVERY TO OCCUR AFTER SEPTEMBER 5, 2014
                                      Case No. 07-5944 SC
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 1
              Defendants Hitachi Ltd., Hitachi America, Ltd., Hitachi Electronics Devices (USA)
 2
     Inc., Hitachi Asia Ltd., and Hitachi Displays, Ltd., (collectively, “Hitachi”) and the Direct
 3
 4   Action Plaintiffs1 (the “DAPs”) have conferred by and through their counsel and, subject to

 5   the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
 6            WHEREAS, September 5, 2014, was the deadline to complete fact discovery.
 7            WHEREAS, on September 5, 2014, this Court approved a stipulation between the
 8
     parties that extended the deadline for the DAPs to take a Rule 30(b)(6) deposition of Hitachi
 9
     until October 17, 2014.
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              WHEREAS, the parties have continued to meet and confer to determine the scope and
11
12   the date of a deposition. As part of that process, the DAPs submitted to Hitachi in writing the

13   proposed questions that would be asked at the deposition, and Hitachi Ltd. has agreed to
14   produce a witness for the deposition.
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              WHEREAS, due to scheduling conflicts between the witness and counsel, the parties
16
     were unable to find a date prior to October 17, 2014, on which to conduct the deposition.
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              WHEREAS, the parties have agreed, subject to the Court’s approval, to conduct the
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19   deposition on November 4, 2014, at 1:00 PM local time at Kirkland & Ellis LLP’s office in

20   New York.
21            IT IS HEREBY STIPULATED, by and between the parties, through their respective
22   counsel of record, that:
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25   1
      The Direction Action Plaintiffs are Electrograph Systems, Inc.; Electrograph Technologies, Corp.; Alfred H.
     Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Best Buy Co., Inc.; Best Buy Purchasing LLC;
26   Best Buy Enterprise Services, Inc.; Best Buy Stores, L.P.; BestBuy.com, L.L.C.; Magnolia Hi-Fi, Inc.; Interbond
     Corporation of America; Office Depot, Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island
27   Corporation; ABC Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC,
28   (on behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears, Roebuck and Co. and Kmart Corp.; Target
     Corp., Sharp Electronics Corporation, Sharp Electronics Manufacturing Company of America, Inc., Tech Data
     Corporation, Tech Data Product Management, Inc., Dell Inc., and Dell Products L.P.

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 1
             (1) the DAPs may conduct the Rule 30(b)(6) deposition of Hitachi Ltd. on November 4,
 2
     2014.
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.                     ISTRIC
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14          October 22, 2014
     Dated:___________________                               APPRO
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15                                                    Hon. Samuel Conti
                                                      United States District Judge
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 1     Dated: October 10, 2014                     By: /s/ Eliot Adelson
                                                   Eliot Adelson, Esq.
 2
 3                                                 Counsel to Defendants Hitachi Ltd., Hitachi
                                                   America, Ltd., Hitachi Electronics Devices
 4
                                                   (USA) Inc., Hitachi Asia Ltd., and Hitachi
 5                                                 Displays, Ltd.
 6
                                                   /s/Samuel J. Randall _________
 7                                                 Richard Alan Arnold, Esq. (admitted pro hac vice)
                                                   William J. Blechman, Esq. (admitted pro hac vice)
 8
                                                   Kevin J. Murray, Esq. (admitted pro hac vice)
 9                                                 Samuel J. Randall, Esq. (admitted pro hac vice)
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                                                   kmurray@knpa.com
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16
                                                   Counsel for Plaintiffs Sears, Roebuck and Co.
17                                                 and Kmart Corporation
18
19          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

20   document has been obtained from each of the above signatories.
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